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    EXHIBIT 1
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                                                                                                                        A3M / ALL
                                                                                                     Transmittal Number: 19115557
Notice of Service of Process                                                                            Date Processed: 12/19/2018

Primary Contact:           Tania Sosa
                           Rushmore Loan Management Services LLC
                           1755 Wittington Place
                           Dallas, TX 75234

Electronic copy provided to:                   Tanya Henderson
                                               Cynthia Mullan
                                               Maribel Delgado

Entity:                                       Rushmore Loan Management Services LLC
                                              Entity ID Number 2802392
Entity Served:                                Rushmore Loan Management Services LLC
Title of Action:                              Matt P. Jacobsen vs. Rushmore Loan Manageivient Services LLC
Document(s) Type:                             Notice
Nature of Action:                             Property
Court/Agency:                                 Carson City District Court, NV
Case/Reference No:                            18RP 000191B
Jurisdiction Served:                          Delaware
Date Served on CSC:                           12/17/2018
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Matt P. Jacobsen
                                              408-899-0833
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